Case 2:21-cv-02185-EEF-DMD Document 1 Filed 11/25/21 Page 1 of 7


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


   CYNTHIA MARSH, as Administrator for                  Case No. 2:21-cv-2185
       the Estate of HARRY F. MARSH,
                                                        Admiralty
                  Plaintiff,
                                                        Jury Trial Demanded
          v.

   THE CONTINENTAL INSURANCE
        COMPANY, individually and as
        successor in interest to Marine Office
        of America Corporation, a
          corporation,

                  Defendant.


                            COMPLAINT FOR WRONGFUL DEATH

         NOW INTO COURT, through undersigned counsel, comes Plaintiff, Cynthia Marsh, as

  Administrator for the Estate of Harry F. Marsh, complaining against Defendant The Continental

  Insurance Company, individually and as successor in interest to the Marine Office of America

  Corporation as follows:

         1.      Plaintiff Cynthia Marsh is the Administrator of the Estate of Harry F. Marsh.

         2.      Harry F. Marsh resided in San Antonio, Texas. He was born in 1926.

         3.      On or about November 26, 2018, Harry F. Marsh was diagnosed with

  mesothelioma and subsequently passed away on August 13, 2019.

         4.      During the years 1946 through 1986, Harry F. Marsh served aboard various

  merchant marine vessels during the years, some of which sailed in and out of ports in the State of

  Louisiana.

         5.      Harry F. Marsh was diagnosed with, suffered and died from mesothelioma as a

  result of his exposure to asbestos while aboard vessels owned and operated by Lykes Bros.

  Steamship Company, which sailed in Louisiana waters and availed themselves of parts in the

  State of Louisiana.

         6.      Harry F. Marsh, sailed as a merchant mariner assigned to the engine room as

  specified in his Vessel Service History (attached hereto as Exhibit A).

         7.      Lykes Bros. Steamship Company filed a Chapter 11 bankruptcy proceeding in

  1995 and is no longer in existence.




                                                  1
Case 2:21-cv-02185-EEF-DMD Document 1 Filed 11/25/21 Page 2 of 7


            8.     The Marine Office of America Corporation (“MOAC”) provided coverage for

  Lykes Bros. Steamship Co. vessels in the 1960s and 1970s. MOAC is succeeded by The

  Continental Insurance Company.

            9.     Plaintiff brings this direct action against The Continental Insurance Company.

  The Continental Insurance Company succeeded MOAC and is responsible for the coverage.

                  SUBJECT MATTER JURISDICTION AND GOVERNING LAW

            10.    This Court possesses concurrent original jurisdiction over the subject matter of

  this Petition based upon Article III, Section 2 of the Constitution of the United States, as this

  case arises under an Act of Congress properly termed the Jones Act, 46 USC § 30104, et seq.,

  wherein Harry F. Marsh, at all times relevant, was a merchant mariner who served his employers

  aboard ships owned and/or operated by the said Lykes Bros Steamship Co., Inc., which vessels

  utilized and carried asbestos and asbestos-containing products and other hazardous products to

  which Harry F. Marsh was exposed to the detriment of his health. Harry F. Marsh died as a result

  of said exposure.

            11.    The Jones Act and General Admiralty and Maritime Law, provide the law

  governing this cause of action to the exclusion of state substantive law relating to personal

  injury.

            12.    The Defendant is a proper defendant as provided for in La. Rev. Stat. Ann. §

  22:655.

                            PERSONAL JURISDICTION AND VENUE

            13.    Harry F. Marsh served aboard various merchant marine vessels during the years

  1946 through 1986. Some of said vessels sailed in and out of ports in the State of Louisiana.

            14.    Lykes Bros. Steamship Co., Inc. was based in Louisiana and had its principal

  place of business in Louisiana between 1919 and 1996.

            15.    The Continental Insurance Company , individually, and as successor in interest to

  Marine Office of America Corporation, with its principle place of business located at 151 North

  Franklin St., Chicago, Il 60606, at times relevant herein conducted business in the State of

  Louisiana.

                                    GENERAL ALLEGATIONS

            16.    During Harry F. Marsh’s sea service career, he worked aboard vessels owned

  and/or operated by the Lykes Bros. Steamship Co., Inc. which sailed in Louisiana waters and



                                                   2
Case 2:21-cv-02185-EEF-DMD Document 1 Filed 11/25/21 Page 3 of 7


  called on Louisiana ports on numerous occasions while Harry F. Marsh served aboard. While

  aboard these vessels in the port and in Louisiana waters, he was repeatedly exposed to asbestos.

  Such vessels included, but were not limited to, the S.S. Dolly Turman, Dick Lykes, Helen Lykes,

  S.S. Eugene Lykes and Mayo Lykes, owned and/or operated by Lykes Bros. Steamship Co., Inc.,

  Defendants named herein.

         17.     Harry F. Marsh made many voyages aboard the Dolly Turman vessel. During

  these voyages, Mr. Marsh was employed by Lykes Bros. Steamship Company, and he had

  significant exposure to asbestos while aboard the Dolly Turman in Louisiana waters, while at

  Louisiana ports, which was a substantial factor in bringing about his injury.

         18.     Harry F. Marsh made many voyages aboard the Dick Lykes in vessel. During

  these voyages, Mr. Marsh was employed by Lykes Bros. Steamship Company, and he had

  significant exposure to asbestos while aboard the Dick Lykes in Louisiana waters, while at

  Louisiana ports, which was a substantial factor in bringing about his injury.

         19.     Harry F. Marsh boarded the S.S. Eugene Lykes in Houston, Texas on November

  20, 1963 and was discharged in New Orleans, Louisiana November 26, 1963. During this

  voyage, Mr. Marsh was employed by Lykes Bros. Steamship Company, and he had significant

  exposure to asbestos while aboard the S.S. Eugene Lykes in Louisiana waters, while at Louisiana

  ports, which was a substantial factor in bringing about his injury.

         20.     Harry F. Marsh made many voyages aboard the Helen Lykes vessel. During these

  voyages, Mr. Marsh was employed by Lykes Bros. Steamship Company, and he had significant

  exposure to asbestos while aboard the Helen Lykes in Louisiana waters, while at Louisiana ports,

  which was a substantial factor in bringing about his injury.

         21.     Harry F. Marsh made many voyages aboard the Mayo Lykes vessel. During these

  voyages, Mr. Marsh was employed by Lykes Bros. Steamship Company, and he had significant

  exposure to asbestos while aboard the Mayo Lykes in Louisiana waters, while at Louisiana ports,

  which was a substantial factor in bringing about his injury.

         22.     On or about the entirety of his sea service career, Harry F. Marsh was required by

  his employers to perform duties which included the constant exposure to asbestos friable fibers

  causing him to breathe into his system carcinogenic asbestos dust resulting in harm to Harry F.

  Marsh, including mesothelioma.




                                                   3
Case 2:21-cv-02185-EEF-DMD Document 1 Filed 11/25/21 Page 4 of 7


         23.     The asbestos and asbestos-containing products found aboard the vessels upon

  which Harry F. Marsh sailed are known to be highly toxic to mankind, and the human body can

  be contaminated by asbestos and asbestos-containing products through inhalation and ingestion.

         24.     Lykes Bros. Steamship, Co., Inc., knew or should have known, of the dangers

  associated with exposure to asbestos and asbestos-containing products in the workplace.

         25.     Harry F. Marsh was exposed to dangerous and unlawful concentrations of

  asbestos in the ambient air, in potable water and food furnished by his employer due to his

  assigned work and/or in close proximity of said asbestos and asbestos-containing products.

         26.     Lykes Bros. Steamship, Co., Inc., knew with substantial certainty that harmful

  contact with Harry F. Marsh person would result from his exposure to asbestos present aboard

  the vessels upon which he served through the products that were produced and/or supplied to or

  brought aboard the vessels upon which Harry F. Marsh worked.

         27.     Lykes Bros. Steamship, Co., Inc., breached its duty to Harry F. Marsh in the

  following particulars, including but not limited to:

                 (a)     Failed to adequately warn Harry F. Marsh of the
                         dangerous characteristics of asbestos and asbestos-
                         containing products;

                 (b)     Failed to provide Harry F. Marsh with the
                         information as to what would be reasonably safe
                         and sufficient wearing apparel and proper protective
                         equipment and appliances, to protect Harry F.
                         Marsh from being harmed and disabled by exposure
                         to asbestos and asbestos-containing materials;

                 (c)     Failed to place adequate warnings on said asbestos
                         and asbestos-containing materials, to warn of the
                         health hazards associated with coming in contact
                         with said products.

                 (d)     Failed to exercise reasonable care to publish, adopt
                         and enforce safety plans and/or a safe method of
                         handling and installing asbestos and asbestos-
                         containing materials;

                 (e)     Failed to adopt and utilize a substitute material to
                         eliminate asbestos fibers in the products produced
                         and/or utilized aboard the aforestated vessels;

                 (f)     Failed to test asbestos and asbestos-containing
                         material to determine their disease causing
                         propensities prior to distributing and/or utilizing
                         releasing these products, and if in fact any
                         Defendant tested these products, then said
                         Defendants were negligent in concealing the results
                         from the public;




                                                   4
Case 2:21-cv-02185-EEF-DMD Document 1 Filed 11/25/21 Page 5 of 7


                 (g)     Failed to warn of the scientifically recognized
                         synergism between exposure to asbestos in
                         conjunction with smoking and other agents;

                 (h)     Failed to act in a reasonable and prudent manner.

         28.     As a direct and proximate result of Lykes Bros. Steamship Co., Inc.

  aforementioned tortious acts, Harry F. Marsh sustained serious, incurable and progressive

  asbestos-related disease. Harry F. Marsh contracted an asbestos-related disease, and suffered

  other bodily injuries including: great pain of mind and body, shock, disgrace, outrage,

  humiliation, indignity, disability, loss of the joys, pleasures and vitalities of life, and

  exacerbation of existing disease, and ultimately lost his life in succumbing to this illness.

         29.     Harry F. Marsh developed mesothelioma and as a result and was extremely

  fearful of the ravages of such illnesses from which he suffered.

         30.     Harry F. Marsh experienced severe mental anguish, great pain and suffered the

  ravages of mesothelioma.

         31.     As a result of Harry F. Marsh asbestos-related condition, he suffered great pain of

  mind and body.

         32.     Harry F. Marsh died on August 13, 2019 as a result of his exposure to asbestos

  while serving aboard the Lykes vessels.

         33.     Harry F. Marsh has incurred medical bills and other expenses.

         34.     Harry F. Marsh sustained wage losses in an indeterminate amount, which amount

  will be demonstrated at trial.

         35.     By the wrongful actions, neglect and/or default, Defendants caused Harry F.

  Marsh’s wrongful death and further all causes of action filed on behalf of Harry F. Marsh prior to

  his death survive.

             CAUSES OF ACTION AGAINST THE SHIPOWNER DEFENDANTS

                                               COUNT I

                                        JONES ACT CLAIM

         NOW COMES Plaintiff and hereby re-alleges and incorporates by reference all of the

  previous allegations set forth above and further states as against Defendant, that:

         36.     As a direct approximate result of the negligence under the Jones Act, 46 USCS. §

  30104, Harry F. Marsh suffered from mesothelioma, along with the sequella thereof.

         37.     Lykes Bros. Steamship Co., Inc., was negligent in their failure:



                                                    5
Case 2:21-cv-02185-EEF-DMD Document 1 Filed 11/25/21 Page 6 of 7


                 (a)     To provide adequate warning to the crew, including
                         Harry F. Marsh, of the hazards of asbestos utilized
                         and/or carried shipboard;

                 (b)     Failed to provide Harry F. Marsh with the
                         information as to what would be reasonably safe
                         and sufficient wearing apparel and proper protective
                         equipment and appliances, to protect Harry F.
                         Marsh from being harmed and disabled by exposure
                         to asbestos and asbestos-containing materials;

                 (c)     Failed to place adequate warnings on, near or with
                         said asbestos and asbestos-containing materials, to
                         warn of the health hazards associated with coming
                         in contact with said products.

                 (d)     Failed to exercise reasonable care to publish, adopt
                         and enforce safety plans and/or a safe method of
                         handling and installing asbestos and asbestos-
                         containing materials;

                 (e)     Failed to adopt and utilize a substitute material to
                         eliminate asbestos fibers in the products produced
                         and/or utilized aboard the aforestated vessels;

                 (f)     Failed to test asbestos and asbestos-containing
                         material to determine their disease causing
                         propensities prior to distributing and/or utilizing
                         and/or releasing these products, and if in fact Lykes
                         Bros. Steamship Co., Inc. tested these products,
                         they were negligent in concealing the results from
                         the public;

                 (g)     Failed to provide a reasonably safe workplace; and

                 (h)     Failed to act in a reasonable and prudent manner.

         38.     As a direct and proximate result of the acts and omissions aforestated by Lykes

  Bros. Steamship Co., Inc., Harry F. Marsh sustained injuries as contemplated in American Fire

  & Casualty Company v. Flynn, 341 U.S. 6, 71 S. Ct. 534 (1951). Harry F. Marsh seeks damages

  as below stated, inter alia:

                 (a)     Loss of earnings and earnings capacity;

                 (b)     Conscious pain and suffering, past and future;

                 (c)     Mental anguish, fright and shock, embarrassment,
                         humiliation or mortification, past or future;

                 (d)     Medical expenses and costs;

                 (e)     Household services;

                 (f)     Loss of pleasure, including social and recreational
                         amenities, past and future;

                 (g)     Loss of society and companionship;

                 (h)     Death by wrongful acts;


                                                   6
Case 2:21-cv-02185-EEF-DMD Document 1 Filed 11/25/21 Page 7 of 7



                 (i)     Loss of support, costs of estate planning, and
                         funeral expenses; and

                 (j)     Any and all other elements of damages cognizable
                         in law or which may be raised, pleaded and proved
                         by the Plaintiffs during the pendency of this cause
                         and at the time of trial.

         WHEREFORE, Harry F. Marsh demands judgment against Defendant, in an amount

  reasonable in the premises, and Harry F. Marsh further seeks interest and costs to be taxed in

  accordance with law and such other and further measures of relief as the Court may determine to

  be appropriate and just in the premises.

                                      JURY TRIAL DEMAND

  Plaintiff hereby demands a trial by a jury.

  Dated: November 25, 2021                      Respectfully submitted,
                                                MOTLEY RICE LLP

                                                /s/ Meredith K. Clark
                                                Meredith K. Clark, Esq.
                                                28 Bridgeside Blvd.
                                                Mt. Pleasant, SC 29464
                                                Phone: (843) 216-9000
                                                Fax: (843) 216-9450
                                                mkclark@motleyrice.com

                                                ATTORNEYS FOR PLAINTIFF CYNTHIA
                                                MARSH, ADMINISTRATOR FOR THE
                                                ESTATE OF HARRY F. MARSH




                                                   7
